        Case 2:20-cr-00055-LMA-KWR Document 296 Filed 04/12/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 UNITED STATES OF AMERICA                                 CRIMINAL NO. 20-55

 VERSUS                                                   SECTION "I"

 JASON R. WILLIAMS                                        VIOLATION: 18 USC § 371,
 NICOLE E. BURDETT                                        26 USC § 7206 (2), 31 USC § 5331
                                                          and 5322


            RE-NOTICE OF PRETRIAL CONFERENCE AND TRIAL BY JURY
           PRETRIAL CONFERENCE RESET FOR JUNE 1, 2022 AT 11:00 A.M.

Take Notice that this criminal case has been reset for TRIAL on JULY 18, 2022 at 8:30 A.M.,
before U.S. District Judge Lance M. Africk, 500 Poydras Street, Courtroom C427, New Orleans,
LA 70130.

    **IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING**
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY
OUTSIDE THE AFORESAID COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES
PRIOR TO APPEARANCE.



Date:    April 12, 2022                          CAROL MICHEL, CLERK

TO:                                              Issued by:   Bridget Gregory, Deputy Clerk

Jason R. Williams     (BOND)                     AUSA:      Kelly Uebinger, David J. Ayo,
Nicole E. Burdett      (BOND)                    Brandon B. Brown, Alexander C. Van Hook,
                                                 and Jessica Cassidy



                                                 U.S. Marshal
                                                 U.S. Probation Office
                                                 U.S. Probation Office - Pretrial Services Unit

                                                 JUDGE

If you change address,                           MAGISTRATE
notify clerk of court
by phone, 589-7752                               COURT REPORTER COORDINATOR
                                                 INTERPRETER: NONE
     Case 2:20-cr-00055-LMA-KWR Document 296 Filed 04/12/22 Page 2 of 2



                                                                   CR 20-55 "I"
                                                           USA v. Williams, et al
                                                                    Page 2 of 2




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